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AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Eastern District of California

                   United States of America                             )
                              v.                                        )
                                                                        )     Case No. 2:19-cr-00107 KJM
                       DONALD MAZZA                                     )
                              Defendant                                 )

                                       ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

    Upon the Motion of the Defense to Reopen Detention Hearing and Grant Release, the court GRANTED the motion to
reopen, considered the briefing of the parties and the new evidence presented by the defense, heard oral argument, and
then confirmed the DETENTION of the defendant for the reasons stated on the record, but on different legal grounds as
reflected below.
    This order sets forth the Court’s findings of fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in
addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
             (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                   (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                   § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                   (b) an offense for which the maximum sentence is life imprisonment or death; or
                   (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                   Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                   (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                   (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                   (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                   described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                   jurisdiction had existed, or a combination of such offenses; or
                   (e) any felony that is not otherwise a crime of violence but involves:
                   (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                   (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
             (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
             (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
             (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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      B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
             (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
             (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
             (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
             (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
             imprisonment of 20 years or more is prescribed; or
             (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

      C. Conclusions Regarding Applicability of Any Presumption Established Above

                The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part III need not be completed.)
                OR
                The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   X By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of any other person and the community.

      By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

         Weight of evidence against the defendant is strong
       X Subject to lengthy period of incarceration if convicted (max. life)
       X Prior criminal history
         Participation in criminal activity while on probation, parole, or supervision
       X History of violence or use of weapons (prior convictions inc. assault, firearms, attempted murder)
         History of alcohol or substance abuse (currently not a factor given rehabilitation/sobriety)
         Lack of stable employment
         Lack of stable residence
         Lack of financially responsible sureties
         Lack of significant community or family ties to this district
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         Significant family or other ties outside the United States
         Lack of legal status in the United States
         Subject to removal or deportation after serving any period of incarceration
         Prior failure to appear in court as ordered
         Prior attempt(s) to evade law enforcement
         Use of alias(es) or false documents
         Background information unknown or unverified
       X Prior violations of probation, parole, or supervised release (inc. prior convictions based on violations)

OTHER REASONS OR FURTHER EXPLANATION:

As reviewed in depth on the record, despite defendant’s claim to have begun a new life and wiped the slate clean at the
time of his baptism in 2015, the agent’s sworn affidavit supporting the complaint originally filed in this case describes an
intercepted August 31, 2016 phone call between defendant and lead defendant Yandell, during which defendant identified
another person – Matt Hall, also a codefendant -- as “a good candidate to become a new member of the Aryan
Brotherhood [AB].” See ECF No. 1 at 115 ¶ 6 (ECF pagination); see also ECF 207 at 5 & n.1 (government’s opposition
brief quoting from phone call). During the same call, defendant told Yandell that if ordered he would “handle” a
“situation in San Diego.” As the government argues, in the context of other intercepted calls described in the agent’s
affidavit, including calls between Yandell and Hall, a strong inference arises that defendant was signaling a willingness to
carry out an order to kill a third person. At the very least, defendant was communicating with Yandell, identified as a
leader of the AB organization, engaging in discussions about recruiting a new member to the AB and willing to take
orders from Yandell, in contrast to his claims of leaving his past completely behind after his 2013 release following his
last prison sentence and, again, his baptism in 2015. This communication, against the backdrop of defendant’s ongoing
association with many persons the government identifies as members or affiliates of the AB or associated gang
organizations, see ECF 207 at 12 n.4, constitutes clear and convincing evidence that no combination of pretrial release
conditions can reasonably assure the community’s safety.




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                                       Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance
in connection with a court proceeding.

Date:         October 1, 2019
         (nunc pro tunc to                                 UNITED STATES DISTRICT JUDGE
        September 30, 2019)




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